        Case 1:21-cv-02900-CJN Document 136-2 Filed 12/09/23 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                     No. 1:21-cv-02900-CJN
                   Plaintiffs
       v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                   Defendant

                      INDEX OF COMPLAINED-OF PUBLICATIONS

        The following index identifies Complained-of Publications by date of publication
(chronologically listed for the complained-of broadcasts and posts) and further identifies the title
of the respective Publications, references to the Publications in Plaintiffs’ Complaint, and the
page number of the Publication transcript in the Appendix.

 No.        Date                Title                  Complaint           Complaint  App.
                                                                            Exhibits Page No.
 1     11/12/2020      After House with Alex ¶¶84-85, 171a, 184a,          1, 1A     APP10
                       Salvi                 227a

 2     11/16/2020      News Room                ¶¶87-91, 171b, 176a/b,     2, 2A
                                                184b/c, 196a/b, 227b
 3     11/16/2020      Tipping Point with       ¶¶92-94, 171c, 184d/e,     3, 3a, 4, 4A APP30
                       Kara McKinney            196c/d, 227c
 4     11/16/2020      News Room                ¶¶95-98, 171d,             5, 5A
                                                184f/e/g, 196e,
                                                218a/b/c, 227d/e
 5     11/17/2020      Tipping Point with       ¶¶99-100, 171e, 184i/j,    6, 6A          APP55
                       Kara McKinney            196f, 205a, 227f
 6     11/19/2020      Breaking News Live       ¶¶101-103, 171h, 184k,     9, 9A
                       with Patrick Hussion     196g, 218e/f/g

 7     11/19/2020      Real America with        ¶¶104-105, 171i, 184l,     10, 10A        APP72
                       Dan Ball                 205b, 227g/h

 8     11/20/2020      News Room with           ¶¶106-108, 171m,           14, 14A
                       Amanda Brilhante         184n/o, 196i, 218i/j/k,
                                                227i/j



                                                 1
          Case 1:21-cv-02900-CJN Document 136-2 Filed 12/09/23 Page 2 of 5




    No.      Date                Title                Complaint           Complaint  App.
                                                                           Exhibits Page No.
    9     11/20/2020     News Room              ¶¶109, 171n, 227k,        15, 15A   APP85
                                                391-392
    10    11/20/2020     News Room              ¶¶110-112, 171o, 184p,    16, 16A   APP95
                                                227l, 389-390
    11    11/20/2020     In Focus with          ¶¶113-117, 171p, 184q,    17, 17A   APP104
                         Stephanie Hamill       196j, 205c/d/e, 227m,
                                                383-384
    12    11/20/2020     Tipping Point with     ¶¶176c, 178c              43        APP123
                         Kara McKinney
    13    11/18/2020 1   Tipping Point with     ¶¶118, 171q, 205f/g,      18, 18A   APP145
                         Kara McKinney          218l, 379-380
    14    11/22/2020     News Room              ¶¶119-121, 171r,          19, 19A
                                                184r/s, 196k/l,
                                                218m/n/o
    15    11/23/2020     Tipping Point with     ¶¶122-124, 171s, 178e,    20, 20A   APP154
                         Kara McKinney          184t, 218p/q, 227n
    16    11/27/2020 2   Tipping Point with     ¶¶125-126, 171x, 176d,    25, 25A   APP186
                         Kara McKinney          196n, 218t, 227r
    17    12/01/2020     Breaking News with     ¶¶127-128, 171y, 179c,    26, 26A
                         Patrick Hussion        184v, 205i/j, 218u

    18    12/01/2020     Tipping Point with     ¶¶129, 171z, 196o,        27, 27A   APP200
                         Kara McKinney          218v
    19    12/03/2020     In Focus with          ¶¶130, 171aa, 176e/f,     28, 28A   APP220
                         Stephanie Hamill       218w, 227s

    20    12/05/2020     News Room              ¶¶131-132, 171bb,         29, 29A
                                                184w, 196p/q, 218x,
                                                227t
    21    12/07/2020     Tipping Point with     ¶¶133-134, 171ff,         33, 33A   APP239
                         Kara McKinney          184y, 205k, 227v
    22    12/21/2020     News Room              ¶¶135-137, 171gg,         34, 34A
                                                176g, 184z, 205l, 218z,
                                                381-382
    23    12/26/2020     Weekly Briefing with   ¶¶146-147, 179d/e,        45, 45A
                         Christina Bobb

    24    02/05/2021     Real America with      ¶¶158-159, 171ii, 176j,   36, 36A   APP251
                         Dan Ball               205n

1
  In the Complaint, Plaintiffs erroneously allege that this Tipping Point broadcast aired on
November 22, 2020.
2
  In the Complaint, Plaintiffs erroneously allege that this Tipping Point broadcast aired on
November 28, 2020.


                                                 2
          Case 1:21-cv-02900-CJN Document 136-2 Filed 12/09/23 Page 3 of 5




    No.      Date                Title                  Complaint         Complaint  App.
                                                                           Exhibits Page No.
    25    02/08/2021 3   Absolute Proof         ¶¶154-157, 171hh,         35, 35A   APP262
                                                176h/I, 184aa,
                                                196s/t/u/v/w/x, 205m
    26    02/11/2021     A Screening and        ¶¶160-161, 171jj,         37, 37A       APP408
                         Conversation of        184bb/cc/dd, 196y
                         Absolute Proof
    27    04/03/2021     Scientific Proof       ¶¶162-163, 171kk,       38, 38A         APP631
          &                                     184ee/ff, 196z/aa/bb,
          04/04/2021                            205o
    28    04/22/2021     Mike Lindell           ¶¶164-165, 171ll, 196cc 39, 39A         APP739
                         Presents: Absolute
                         Interference
    29    05/03/2021     Mike Lindell Tackles   ¶¶166, 171mm, 184gg, 40                 APP912
                         Election Fraud         196dd
    30    06/05/2021     Absolutely 9-0         ¶¶167-168,      171nn, 41, 41a          APP942
          &                                     184hh, 196ee, 205p/q/r
          06/06/2021
    31    11/18/2020     “Dominion Scandal      ¶171f                     7
                         Goes Worldwide with
                         Michael Johns”
                         (Twitter)
    32    11/18/2020     “Dominion Scandal      ¶171g                     8
                         Goes Worldwide with
                         Michael Johns”
                         (Facebook)
    33    11/20/2020     “President’s Lawyers   171j, 184m, 196h, 218h 11
                         Say Communist-
                         Funded Election
                         Software Responsible
                         for Alleged Voting
                         Irregularities”
                         (OANN.com)
    34    11/20/2020     “President’s lawyers   171k                      12
                         say communist-
                         funded election
                         software responsible
                         for alleged voting
                         irregularities”
                         (Twitter)


3
 In the Complaint, Plaintiffs erroneously allege that this broadcast aired on February 8, 2021.
The broadcast instead first aired on February 5, 2021.


                                                 3
      Case 1:21-cv-02900-CJN Document 136-2 Filed 12/09/23 Page 4 of 5




No.      Date              Title                   Complaint        Complaint    App.
                                                                     Exhibits   Page No.
35    11/20/2020   “President’s lawyers    171l                     13
                   say communist-
                   funded election
                   software responsible
                   for alleged voting
                   irregularities”
                   (Facebook)
36    11/25/2020   “Former U.S.            171t, 205h               21
                   Attorney, Joseph
                   diGenova, On The
                   Growing Evidence Of
                   Voter Fraud”
                   (OANN.com)
37    11/27/2020   “Sidney Powell          171u, 184u, 196m, 22
                   Launches Election       218r/s, 227o/p/q
                   Lawsuits In Mich.
                   And Ga.”
                   (OANN.com)
38    11/27/2020   “Sidney Powell          171v                     23
                   launches election
                   lawsuits in Mich. and
                   Ga.” (Twitter)
39    11/27/2020   “Attorney Sidney        171w                     24
                   Powell released the
                   Kraken.” (Facebook)
40    12/07/2020   “Chairman Of            171cc, 184x,        196r, 30
                   Smartmatic’s Parent     218y, 227u
                   Company To Become
                   President Of George
                   Soros’s ‘Open
                   Society
                   Foundations’”
                   (OANN.com)
41    12/07/2020   “Chairman of            171dd                    31
                   Smartmatic’s parent
                   company to become
                   president of George
                   Soros’s ‘Open
                   Society
                   Foundations’”
                   (Twitter)
42    12/07/2020   “Chairman of            171ee                    32
                   Smartmatic’s parent
                   company to become


                                            4
      Case 1:21-cv-02900-CJN Document 136-2 Filed 12/09/23 Page 5 of 5




No.     Date             Title             Complaint     Complaint    App.
                                                          Exhibits   Page No.
                 president of George
                 Soros’s ‘Open
                 Society
                 Foundations’”
                 (Facebook)




                                       5
